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                [ORAL ARGUMENT NOT SCHEDULED]

            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


  TIKTOK INC., et al.,

                     Petitioners,

     v.
                                                         No. 20-1444
 COMMITTEE ON FOREIGN INVESTMENT IN
   THE UNITED STATES, et al.,


                     Respondents.


                               STATUS REPORT

      On February 19, 2021, this Court placed this petition for review in

abeyance, directing that status reports be filed at 60-day intervals. The

government now respectfully submits this status report in accordance with

the Court’s order.

      While this case was pending, Congress enacted the Protecting

Americans From Foreign Adversary Controlled Applications Act, H.R. 815,

div. H, 118th Cong., Pub. L. No. 118-50 (April 24, 2024), which may affect

petitioners’ ability to operate in the United States. Petitioners challenged the

constitutionality of that Act in this Court, and on December 6, 2024, the
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Court rejected all of petitioners’ constitutional challenges. See TikTok Inc. v.

Garland, No. 24-1113, 2024 WL 4996719 (D.C. Cir. Dec. 6, 2024). On

December 9, petitioners filed a motion asking this Court to enter a

“temporary injunction” of that decision pending Supreme Court review. On

December 13, this Court denied that motion, and the petitioners have

indicated that they intend to seek similar relief in the Supreme Court.

      Abeyance continues to be appropriate to avoid potentially duplicative

litigation and to conserve judicial resources. We therefore respectfully

request that respondents be permitted to file another status report within 60

days after the filing of this report, by February 14, 2025.

                                          Respectfully submitted,

                                          SHARON SWINGLE

                                           s/ Casen B. Ross
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                                             December 2024
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                      CERTIFICATE OF SERVICE

     I hereby certify that on December 16, 2024, I electronically filed the

foregoing document with the Clerk of the Court by using the appellate

CM/ECF system. I certify that the participants in the case are registered

CM/ECF users and that service will be accomplished by the appellate

CM/ECF system.



                                            /s/ Casen B. Ross
                                           CASEN B. ROSS
